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 UNITED STATES DISTRICT COURT
                                              ss
 DISTRICT OF NORTH DAKOTA

                                      AFFIDAVIT

        I, Christopher Potts, being first duly swotn, hereby depose and state as follows:

                 INTRODUCTION AND AGENT BACKGROUND

        1.    I am a Special Agent with the Federal Burn au of Investigation ("FBI"),

and have been so elllployed since September 2018. I am curre1;1tly assigned to a squad

that investigates violent crime, narcotics distribution, and crimes against children in

Indian Country. Before w01,ki11g ctimes in Indian Country, I spent approximately two

years investigating gang-related crime in Chicago, IL. I have experi~nce in

investigating counter terrorism matt_ers including threats of violence against federal

officers.

       2.     This affidavit ii:, submitted in suppoxt of a criminal complaint alleging

that, on 01· about June 15, 2025, CHARLES DALZELL transmitted, in interstate

commerce, communications threatening to injure the pe;rson(s) of another, in

violation of 18 U.S.C. § 875(c), and threatened to assault, kidnap, or mm·der a United

States Official in violation of 18 U.S.C. § 115(a)(l)(B).

       3.     Because this affidavit is being submitted for the limited purpose of

establishing probable cause in supp01·t of a criminal complaint charging CHARLES

DALZELL with violating 18 U.S.C. § 875(c) and 18 U.S.C. § 115(a)(l)(fl), I have. not

included each and eve1·y fact known to me concerning this :investigation.

       4.     The facts in t];iis affidavit come from iny personal observations and
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knowledge, my training and experience1 and information obtained from other law

enforcement personnel.

                                  PROBABLE CAUSE

       5.     I    reviewed      an     email    that     was     sent    from      address

"103streetbob@gmail.com" from an individual named "Chuck Miller." The interview

was sent to the ''USAND~WebMaster," 'an email address for the United States

Attorney's Office for the Disttict of North Dakota, on or about Februa,ry 26, 2024, at

7:-40:47 AM. The email appears to describe a legal challenge that the writer was

undei·going. In: the email, the wtiter notes "I'm on the very very edge of flipping the

fuck out and the moral of the story is [D.P .] is eithei· connected to offer giants the

people i-esponsible for the lien or [P] is a .r eally really shitty person ... "1 The writer

continues with ·"I am not asking £01· help I am demanding it because honestly person

to person this is going to turn bad as I am completely sutrounded and there's a word

that starts with a V and ends with a T i:tnd kinda sounds like violin [emoji of violen

included] and that is where this is heading if I don't get some help, yes I'm asking for

help before I lose control. I didn't write this to waste either of our time because I don't

have time left and patience is also gone ... now I don't want bad things to happen

becausE;l I'm not like that but put anyone in this situation and continue to let it keep

taking and hurting them financially and sooner or later it'll push them over the edge.




1 [D.P] confirmed with law enforcement that DALZELL used the email ~ddress
"103streetbob@gmail.com" with the name "Chuck Miller" during their communications.
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HELP ME BEFORE THIS GETS VERY UGLY AND PERSONAL."

      6.     On or about February 26, 2024, FBI SA Joel Lowry and FBI Task Force

Officer (TFO) Jon Clausen interviewed DALZELL at his residence located. at 425

Pai·kStreet, St Thomas, ND 58276. The interviewwasrecorded. I have reviewed TFO

Clauzen's report and have included SUll\mai·ized portions of it below:

                a. DALZELL acknowledged that he had hired [D.P.] as an attorney

                   to help him with a legal issue. DALZELL expected [D.P.] to send

                   documents on his behalf, but he claimed that did not happen.

                b. DALZELL, after being confronted with documents that [D.P.]

                   forwarded to the United States Attorney's Office, acknowledged

                   that he was familiar with the documents artd stated, "what comes

                   around goes around.'1

                c. DALEZLL was also presented with a handwritten letter that

                   starts with "My name is Charles Dalzell .." DALZELL denied

                   writing the letter.

                d. DALZELL was also confronted with the email communications

                   that described a word that started with "V'' and ended with "T".

                   DALZELL told law enforcement that he had sent that to the state

                   and not [D.P.]. DALZELL asked what he was expected to do and

                   noted that he wanted help with his prnperty situation before it




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                    gets to that. 2

                 e. Law enforcement told DALZELL that his communications

                    appeared to be borderline threatening. He was also notified that

                    it was a violation to threaten people over that internet and his

                    communications were being perceived as threats.

                f. DALZELL told law enforcement that he was not threatening

                    [D.P.].

                g. DALZELL stated that ifhe wanted to go shoot a place up he would

                    not advertise it. He told law enforcement that he does not have

                    access to firearms.

      7.     On or about June 16, 2025, I i·eviewed an email sent from email address

"l03streetbob@gmail.com" from "Charles Dalzell'' to J.P. of the United States

Attorneys (USAO) for the District of North Dakota. The timestamp on the email reads

"Sunday, June 15, 2025 5:11:44 PM.'' I have included both quotes and summarized

portions of the email below:

                a. "Just sitting hern wondering what a law maker and a

                   representative were shot and one dead over in Minnesota and one

                   thing comes to mind, something lik0c that doesn't fall out of the

                   sky now does it ... I'm most certainly not making threats but when

                   law makers make laws and the state doesn1t follow the laws they



2 TFO Clausen indicated in his report that he believed the statement was reforring to
DALZELL getting help before resorting to viole.nce.
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             created .it would p1·oba:bly piss some people off right ... "

          b, The writer of the email, who l believe to be DALZELL, explains

             that he asked federally elect.e d public officials for assistance in his

             case and was ignored, DALZELL notes that the police were

             notified after his fourth attempt to contact the representatives,

             DALZELL indicated that two officers told. him that they were not

             interested. in helping hi:m 1;tnd th~t he was close to going to jail.

             DALZELL bla:med J.P, among others, for lying to him.

          c. DALZELL explained that he had reached out to multiple

             government officials about legal issues and was ignored.

          d. DALZELL stated ''Now I'm going to be honest with you I don't

             want this situation to end up like Minnesota over the weekend,

             do you. I'm trying to get ail of you to actually follow the law, not

             ignore me, not lie to me, not mislead me and purposely waist my

             time I don't have. And that is what you all have done and this

             makes me wonder if these bad situations am really what you want

             or do you hope that I flip out and end up dead by a police officer?"

          e. DALZELL indicated that he was owed money after a victory in

             cmu·t and the police were attempting to silence him so public

             officials could engage in con-uption.

          f. DALZELL reitei·ates that "I don't know the specifics :in this

             Minnesota case but a representative and a lawmaker were shot

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             and one of them is dead and all of you mentioned above are

             basically avoiding your responsibility and that is creating some

             bad situations. I'm not impressed with this conupt behavior and

             I'm not going to tolerate it."

          g. DALZELL stated "If you call the cops on me to intimidate me and

             scare me with chaTges and jail so I shut up about my rights I have

             by being a.n American, that's where the bullshit stops. Do I make

             myself clea~·?? I'm done with you ignoring me, I'm done with the

             threats of jail and charges, I'm done with '[North Dakot~ Public

             Official] and his bullshit lies, this had god dam better get fixed

             Monday morning which is tomonow because I want to avoid

             anymore problem:s and don't want North Dakota to end up like

             Minnesota and no that is not a threat [J;P.] it's .a fact and a

             statement that it's a bad situation and I wouldn't want any pai-t

             of it[... ]and I'll be honest I'm extremely pissed off and before you

             people push me into one of those situations with no way out except

             death or prison the law and the rules and the constitution had

             better get followed.' 1

          h. DALZELL mentions that two public officials and a judge, who he

             mentions by name, were not effectively performing then: duties

             and that "calling the authorities on [him] for standing up for [his]

             civil and constitutional i-ights is not going to be tolerated since it

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                      is very obvious it's there way of provoking me[ ... ]"

                 1.   DALZELL continues by saying that he is ''not backing down and

                      "[he is] not going anywhere until [he's] reimbursed what [he's

                      owed and laws are followed. It's very simple to understand and if

                      laws are not followed it's a very long list of you that are going to

                      be looking fo1· a new careei· [... ]''



       8.     I reviewed an additional emailfro:m "103streetbob@gmaiLcom" that was

sent to J.P. on June 16, 2025, a:t approximately 12:33 P.M. In the email, DALZELL

noted that it was "shocking that so many of you North Dakota elected official don't

seem to care about ignoring people, upholding laws, upholding the constitution

nothing. You just ignore your job like it doesn't matter, and in doing so you help a

corrupt judge and a chickenshit governor violate my civil and constitutional rights.

You don't really care though do ya ... "

       9.    Based on the foregoing facts, !respectfully submit that there is probable

cause to believe thati on or about June 15, 2025, in the District of North Dakota,

DALZELL transmitted, in interstate commerce, communications threatening to

injure the person(s) of another, in violation of 18 U.S.G. § 875(c) as well as threatened

to assault, kidnap, or murder a United States Official in violation of 18 U.S.C. §




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115(a)(l)(B).




                                          Respectfully submitted,



                                          CHRISTOPHER POTTS
                                          Special Agent
                                          Federal Bureau of Investigation

                               ne on June 16, 2025.



Alice R. Senechal
Magistrate Judge
United States District Court
No;rth Dakota




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